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 9
10                       IN THE UNITED STATES DISTRICT COURT
11                             FOR THE DISTRICT OF ARIZONA
12
     United States of America,                            No. CR-15-00707-01-PHX-SRB
13
                           Plaintiff,
14                                                      RESPONSE TO DEFENDANT’S
              v.                                            AMENDED MOTION
15                                                       TO COMPEL DISCLOSURE
16   Abdul Malik Abdul Kareem,
17                         Defendant.
18
19         Defendant was convicted by the jury because, among other crimes, he conspired to
20   provide material support to ISIS and he conspired with confederates to transport firearms
21   across state lines in order to murder civilians at a gathering in Garland, Texas. Defendant
22   has now filed an Amended Motion to Compel Disclosure, which notes that he sent
23   government counsel a six-page letter that “identified 15 different points on which
24   disclosure was sought.” (CR 525 at 4.) Defendant’s motion offers no analysis of any of
25   these points.   Rather, it simply attaches the letter, asserts without explanation that
26   everything it refers to is Rule 16 or Brady material, and then moves the Court “to compel
27   production by the government of items requested by the defense by letter.” (Id. at 1.)
28
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 1            None of the items requested by the defense falls within the scope of the
 2   government’s discovery obligations under Rule 16, Brady v. Maryland, 373 U.S. 83
 3   (1963), Giglio v. United States, 405 U.S. 150 (1972), or any other doctrine. Defendant’s
 4   letter claims these items would be material or exculpatory to support the baseless and
 5   entirely speculative defense theory that he “was targeted as a defendant because the FBI
 6   was embarrassed by its failure to detect and disrupt the plan to attack the contest in Garland,
 7   Texas.” (CR 525-1.) He further argues “the US failed to appreciate the risk posed by” his
 8   confederate and “the FBI could have foiled the attack given the information it possessed.”
 9   (Id.)
10            Even if a defense could be fashioned around the FBI’s supposed embarrassment
11   resulting from failing to prevent a crime (and it cannot because jury nullification is a
12   prohibited defense), undersigned counsel have seen no information even hinting at the
13   notion that Defendant was “targeted” for reasons other than the evidence that pointed to
14   him—namely, the statements of witnesses to his conduct and the physical and electronic
15   evidence that implicated him in the charged conspiracy. Because Defendant fails to make
16   any showing, the United States respectfully submits the Court should deny his motion.
17                                     Brief Procedural Background1
18            The instant Motion to Compel arises in the context of a pending Supplemental
19   Motion for New Trial (CR 505) that defendant Abdul Malik Abdul Kareem filed while his
20   appeal is pending and in which opening briefs for the defense and the government have
21   been filed.
22            The principal event that triggered the investigation leading to the charges in this
23   case was Elton Simpson’s and Nadir Soofi’s attempted attack on the Muhammad Art
24   Exhibit and Contest in Garland, Texas, on May 3, 2015. Following the attack, the FBI
25   launched an investigation and interviewed hundreds of people, conducted searches and
26
27   1
       The facts and history of this case are set out in greater detail in the government’s trial
28   memorandum (CR 200), its response to Kareem’s motion for new trial (CR 319) and its
     response to Kareem’s supplemental brief to the motion (CR 441).

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 1   gathered evidence at multiple locations, and analyzed a large number of electronic devices
 2   and physical items.
 3           On June 10, 2015, a grand jury returned an indictment against Defendant Kareem,
 4   charging him with various counts. The grand jury returned superseding indictments on
 5   September 1, 2015 (CR 57), and December 22, 2015 (CR 158). The second superseding
 6   indictment included the following charges: Count 1, Conspiracy to Transport Firearms in
 7   Interstate Commerce with Intent to Commit Felonies; Count 2, Aiding and Abetting
 8   Transportation of Firearms in Interstate Commerce with Intent to Commit Felonies; Count
 9   3, Making False Statements to the FBI; Count 4, Felon in Possession of Firearms; and
10   Count 5, Conspiracy to Provide Material Support to a Foreign Terrorist Organization. The
11   case proceeded to trial on February 16, 2016 (CR 209), and the jury returned guilty verdicts
12   on all counts on March 17, 2016 (CR 285).
13           Following the trial, Kareem filed a motion for new trial (CR 303) and a separate
14   motion for judgment of acquittal (CR 302) on March 31, 2016, and a supplement to the
15   motion for new trial (CR 432) on November 9, 2016. The government responded to the
16   initial motion and the supplement, and after a hearing, the Court denied the motion for new
17   trial on January 23, 2017 (CR 469). The Court sentenced Kareem to a total term of 30
18   years of imprisonment on February 8, 2017 (CR 489). Kareem filed a timely notice of
19   appeal (CR 484). That appeal remains pending with the deadline for reply briefing stayed
20   pending this Court’s adjudication of Kareem’s Supplemental Motion for New Trial (CR
21   505).
22                                           Discussion
23           A.    Defendant may not obtain discovery based on a legally invalid defense
24           In Defendant’s letter, he claims the right to discovery of a number of items based
25   on the premise that “the FBI was embarrassed by its failure to detect and disrupt the plan
26   to attack” the Muhammad Art Exhibit and Contest in Garland, Texas. Kareem asserts the
27   FBI “wanted to bring a prosecution of someone,” and therefore targeted Kareem as a
28   scapegoat (CR 525-1 at 2). The government has since responded to the letter in writing.


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 1            Simply put, the FBI’s “failure to detect and disrupt the plan” is not a defense to the
 2   charges in the case.      This “defense” is totally untethered to the evidence showing
 3   Defendant’s involvement in these crimes. Turning Defendant’s trial into an attack on the
 4   FBI for failing to stop the attack would be nothing more than an argument for jury
 5   nullification, asking the jury to ignore the independent proof in the government’s case
 6   because agents did not stop a crime. Jury nullification as a defense is not a basis for finding
 7   materiality2 because the defendant does not have a right to pursue jury nullification. See,
 8   e.g., Strickland v. Washington, 466 U.S. 668, 695 (1984) (“An assessment of the likelihood
 9   of a result more favorable to the defendant must exclude the possibility of arbitrariness,
10   whimsy, caprice, ‘nullification,’ and the like. A defendant has no entitlement to the luck
11   of a lawless decisionmaker, even if a lawless decision cannot be reviewed.”).
12            For example, in Wilkins v. United States, 754 F.3d 24 (1st Cir. 2014), the court
13   affirmed the district court’s denial of motion to set aside a conviction flowing from a guilty
14   plea based on failure to disclose evidence that a drug chemist who tested the substance at
15   issue had been falsifying drug tests in other cases. Id. at 30. The court noted defense
16   counsel’s intent to “make his client’s trial a referendum on [the chemist] rather than a
17   proceeding aimed at determining his client's guilt or innocence.” Id. The court explained:
18   “Refined to bare essence, this importuning asks us to find materiality based on the
19   possibility of jury nullification. But courts are duty-bound to presume that jurors will
20   follow their instructions, and there is no principled way in which we can rely on a
21   petitioner's hope of jury nullification to find prejudice.” Id. (internal citations omitted).3
22
     2
23     The Court’s order denying the original motion for new trial accurately sets forth the legal
     standards for evaluating materiality under Brady and determining discoverability under
24   Rule 16. In the interest of brevity, the government will not reiterate those standards here.
     3
25     See also United States v. Felix, No. 213CR00042APGPAL, 2016 WL 4720918, at *4 (D.
     Nev. Sept. 9, 2016), aff'd, 727 F. App'x 921 (9th Cir. 2018) (affirming denial of motion for
26   new trial based on argument that failure to disclose meeting between witness and AUSA,
     after which witness refused to testify, was a Brady violation; “To the extent one could
27   speculate that the jury may have been provoked into jury nullification if it heard about the
     meeting between Healy and the Assistant United States Attorney, a defendant cannot argue
28   jury nullification. Consequently, a new trial is not warranted on the basis that perhaps the
     jury would nullify based on the Government allegedly strong-arming a witness. I therefore

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 1          Kareem’s disclosure motion in this case is similar to one that was denied in United
 2   States v. Burton, 81 F. Supp. 3d 1229, 1236, 1253 (D.N.M. 2015). In Burton, the court
 3   denied a motion to compel production of records relating to FBI and state police
 4   investigations of a shooting that occurred after a transaction of phony drugs between an
 5   undercover police officer and two coconspirators. The defendant argued, “because of the
 6   . . . incident, the FBI had to find someone to hold responsible and chose him as their
 7   scapegoat.” Id. at 1236. The court found no indication that the records the defendant sought
 8   contained any information that was discoverable, a Giglio review took place and revealed
 9   nothing, and there was no evidence that the agent witness involved in the charged phony
10   drug transactions was criticized or disciplined for conduct relating to the transactions or
11   the shooting incident that occurred after the transactions. Id. at 1253-54.
12          In analyzing the applicability of Rule 16 to the requested information, the court
13   noted Rule 16 does not authorize a “broad or blind fishing expedition among documents
14   possessed by the Government.” Id. (citing Jencks v. United States, 353 U.S. 657, 667
15   (1957)). See generally Moore v. Illinois, 408 U.S. 786, 795 (1972) (the government need
16   not provide a complete and detailed accounting to the defense of all investigation
17   conducted in a given case).
18          To pick one example, this is especially true of Kareem’s desire to obtain discovery
19   of the identities of persons to whom the S/A Jane’s messages were sent and the actions
20   they took (discussed further below). None of the recipients of S/A Jane’s messages about
21   Hendricks or Simpson testified at the trial in this case. Thus, their identities and statements
22   could not be construed as Jencks Act statements or impeachment material under Giglio.
23   Because, as this Court previously held, the Hendricks-related “disclosure does not call into
24   question Defendant’s involvement: watching videos with Soofi and Simpson, taking
25   Simpson and Soofi shooting, or supplying Simpson and Soofi with firearms” (CR 469 at
26   9), communications among FBI personnel about the operational details of the Hendricks
27
28   deny the motion for a new trial based on a Brady/Giglio violation.”) (internal quotation
     omitted).

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 1   investigation or S/A Jane’s concerns about Simpson likewise would not constitute Brady
 2   material.
 3            Because Defendant’s theory continues to fail in calling into question the evidence
 4   showing his involvement in the crime, it is not a basis to claim unrelated evidence is
 5   discoverable.
 6            B.     Response to Defendant’s 15-Item List
 7            The defendant’s motion incorporates by reference the discovery request letter dated
 8   September 6, 2018. The numbered paragraphs below correspond to the numbered requests
 9   in Kareem’s letter.4
10            1.     The evidence of Simpson’s communications as requested in paragraph 1 of
11   the letter has been disclosed. Simpson’s Twitter communications that were recovered by
12   the FBI, including those from his @tawaakul and The Sword and the Tongue accounts,
13   were all disclosed on Bates # 436, the 1TB hard drive, on October 13, 2015. Discovery
14   page 635, disclosed November 6, 2015, contains the names of the various Twitter accounts
15   for which the FBI obtained search warrants. Moreover, discovery pages 1677 through
16   1682, disclosed January 29, 2015, consisted of a report by Investigative Analyst Gregory
17   Neville (one of the government’s trial witnesses) titled “Simpson’s Use of Twitter as a
18   Means of Expressing Radical Beliefs.” This report described Simpson’s various Twitter
19   handles and the communications in which he engaged that demonstrated his radical beliefs.
20            Simpson’s encrypted media communications via Surespot handle juba1911 were
21   disclosed in the post-trial disclosure that was the subject of Kareem’s supplement to his
22   original motion for new trial. No additional message content is available because the
23   Surespot communications were encrypted and were not recoverable via search warrant
24   from Surespot. Further, Simpson had deleted his other Surespot accounts, including known
25   accounts juba2 and juba 8021. The only available Surespot data other than the UCE’s
26   4
       To be clear, undersigned counsel have sought and are continuing to seek authorization to
27   disclose certain additional information to the defense; however, that information does not
     fall within the aforementioned discovery obligations. The additional information would
28   support the government’s position with respect to Kareem’s supplement to his original
     motion for new trial as well as his supplemental motion for new trial.

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 1   screenshot preservation of messages was the message count between Simpson and other
 2   users. A report previously disclosed at Bates-stamped discovery pages 1887-1894 on
 3   January 29, 2016, noted that Simpson engaged in at least 209 Surespot communications
 4   with Mohamed Abdallahi Hassan, aka “Miski,” leading up to the attack, with at least 103
 5   messages being exchanged on the day of the attack, May 3, 2015.              Although the
 6   government could not recover the content of these encrypted messages, it did offer trial
 7   exhibits featuring Twitter direct messages between Simpson and Miski that showed Miski
 8   confirming for Simpson that ISIS was encouraging attacks within the United States. (Tr.
 9   Exh. 480 (conversation about whether ISIS spokesman Adnani spoke for ISIS leader Abu
10   Bakr al-Baghdadi)). Simpson’s association with Miski was public knowledge shortly after
11   the attacks. See https://www.counterextremism.com/extremists/elton-simpson.
12          2.     As the Court found in its order denying the motion for new trial, the specific
13   actions the FBI took in pursuing leads regarding Simpson prior to May 3, 2015, is not
14   relevant to the elements of the offenses with which Kareem was charged, nor does it serve
15   to impeach any government trial witness.         All Jencks Act material concerning the
16   government’s trial witnesses, including SA Stewart Whitson, has been disclosed.
17   Impeachment of S/A Whitson about the actions (or lack thereof) of other agents during the
18   trial and about which he lacked personal knowledge would have been improper hearsay.
19   Merely stating (as defense counsel did during trial) that as the case agent S/A Whitson
20   would know of and be able to comment on the actions of others involved in the
21   investigation does not overcome the strictures of the hearsay rule.
22          3.     Ms. Theobald’s research to identify Simpson as the user of “The Sword and
23   the Tongue” and Surespot IDs juba2 and juba 8021 would not have been relevant evidence
24   at Kareem’s trial. The government laid other foundation to associate Simpson to those
25   accounts and disclosed the underlying information about those accounts on October 13,
26   2015, as described above. Ms. Theobald’s research was not Jencks or Giglio material
27   because she did not testify. The research, which undersigned counsel have not seen, would
28   not have been Brady material merely by virtue of not showing online activity associated


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 1   with Kareem. The government never contended, nor did the evidence at trial in any way
 2   suggest, that Kareem was a participant in any social media or other electronic
 3   communication concerning the Garland attack or that he engaged in any form of electronic
 4   communication concerning ISIS, etc. The government’s proof concerning Kareem’s
 5   activities consisted of evidence of in-person communications and conduct.               The
 6   government established at trial that Simpson was the person with the online presence and
 7   who was communicating with ISIS-affiliated persons such as Miski and Junaid Hussain.
 8            4.   The government has disclosed reports and evidence5 supporting S/A Jane’s
 9   statement about thinking “juba1911 should be of concern.” Specifically, the government
10   disclosed a message S/A Jane sent earlier the same day, which was in the same batch of
11   supplemental discovery (Bates pp. 867-898). S/A Jane did not communicate with Kareem;
12   therefore, the lack of any statements of S/A Jane with respect to Kareem is not exculpatory
13   or impeachment material for the same reasons set forth above.
14            5.   S/A Jane’s communications within the chain of command concerning his
15   planned trip to Garland, Texas is not relevant under Rule 16 or Brady, nor does it constitute
16   Giglio/Jencks material. The transcripts from the trial of Erick Jamal Hendricks support
17   S/A Jane’s belief that he was going to Texas in order to bolster his credibility with
18   Hendricks and that he did not anticipate encountering a “PX subject” in Texas. As S/A
19   Jane testified in that trial, he was not armed when he was in Garland, Texas. His
20   movements were controlled, including his obtaining permission from the on-scene agent
21   to move closer to the event to take photos to prove to Hendricks he had been at the event.
22   As previously mentioned, undersigned counsel continue to work with FBI to release
23   additional information about S/A Jane’s presence in Garland, Texas. The government
24   anticipates the additional information would further corroborate S/A Jane’s assertion that
25   he did not anticipate encountering Simpson.
26
     5
27     No Jencks Act evidence exists regarding S/A Jane with respect to Kareem’s trial because
     S/A Jane did testify at that trial. Although the Jencks Act does not apply to S/A Jane’s
28   declaration or reports, the government has endeavored to provide his reports and statements
     to Kareem in this case in the interest of full disclosure.

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 1          6.     As stated above, the identity of the persons to whom S/A Jane communicated
 2   about his perception that Hendricks wanted him to meet Simpson, and what they did with
 3   that information, is not relevant to the defense under Rule 16 or Brady, nor is it
 4   impeachment material. Again, a “defense” based on this information would not be a legal
 5   or factual defense to the charge, but rather an attempt to seek jury nullification, which is
 6   not a defense and not a matter on which the defense would be entitled to a jury instruction.
 7   All Jencks material concerning the government’s trial witnesses, including S/A Stewart
 8   Whitson, has been disclosed. The existence of other conspirators is not exculpatory –
 9   indeed, the government introduced evidence concerning other possible conspirators,
10   including Miski and Hussain, during the trial in this case. See Trial Exhibit 480 (Simpson
11   Twitter direct message excerpts). The evidence demonstrating Kareem’s involvement
12   consisted of witnesses who described his criminal conduct that occurred well before
13   Simpson’s April 23, 2015, tweet about the Garland contest.
14          7.     The identity of persons to whom S/A Jane communicated about the potential
15   to contact Simpson to inquire whether he was at the event is not relevant to the defense
16   under Rule 16 or Brady, nor is it impeachment material. S/A Jane testified during the
17   Hendricks trial that he did not receive authorization to approach Simpson, and nothing
18   suggests S/A Jane would have been able to reach Simpson without risking revelation of his
19   use of law enforcement resources and thereby risking exposure of his status as an
20   undercover agent. S/A Jane had no means to contact Simpson because Simpson already
21   had dropped his Surespot account, juba1911, through which S/A Jane had communicated
22   with him. Had S/A Jane successfully used Simpson’s @tawaakul account on Twitter, that
23   would have immediately drawn suspicion from Simpson because (1) Simpson never
24   provided that username to S/A Jane, (2) the two never previously communicated via that
25   account, and (3) Hendricks provided a misspelled version of that account name to S/A Jane,
26   which could have been an attempt to test Jane by discovering whether Jane knew the true
27   Twitter account name.
28


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 1          The defense also requests additional information regarding the reference in the FBI
 2   Inspections Division’s Garland Shooting Incident Review to Simpson’s “go it alone”
 3   comment. This comment occurred during the only communications Simpson and the UCE
 4   had: the April 23-24, 2015, conversation they had over Surespot, which was documented
 5   via screen shots and disclosed September 15, 2016.
 6          9.     The government already has disclosed the email communications crediting
 7   IA Andrea Theobald’s analysis with identifying juba1911 as Elton Simpson.
 8          10.    The existing disclosure contains the information that led the FBI, and
 9   specifically S/A Jane, to conclude it was possible Simpson might travel to Garland, Texas.
10   As the disclosure shows, S/A Jane drew the conclusion that it was possible based on his
11   communications with Hendricks and the earlier conversation with Simpson, as well as the
12   general knowledge that the contest would be an attractive target for an attack. This
13   information would not have been admissible to impeach S/A Whitson or any other
14   government witness, for the same reasons previously stated.
15          11.    The existence of an FBI alert to authorities in the Dallas area to be on the
16   lookout for Simpson was public knowledge in the immediate aftermath of the attack. It was
17   repeatedly reported in the media and was referenced during the trial.                     E.g.,
18   https://www.nbcnews.com/news/us-news/fbi-says-it-alerted-garland-police-about-elton-
19   simpson-n355526;            https://www.nytimes.com/2015/05/08/us/fbi-says-it-warned-of-
20   gunman-in-garland-texas-attack.html. Additional evidence concerning the alert would not
21   be exculpatory; nor would it serve to impeach any of the government’s witnesses, for the
22   reasons previously stated. Nevertheless, undersigned counsel have requested a copy of the
23   alert but have not seen it in any form. The law enforcement alerts undersigned counsel
24   have reviewed are general in nature and do not mention Simpson, Hendricks, or anyone
25   connected to either of them. Nevertheless, undersigned counsel are working with the
26   current case agent to locate the alert and will disclose it if and when it is obtained.
27          12.    The names and locator information of agents who received emails from S/A
28   Jane is not relevant under Rule 16 or Brady, nor would it qualify as impeachment material


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 1   for S/A Whitson or any of the other government witnesses who testified in the case. Again,
 2   the FBI’s concern about Simpson was well-known and documented, and was addressed in
 3   cross-examination of various government witnesses at trial. The FBI’s concern about
 4   Simpson and the fact that it did not prevent Simpson’s and Soofi’s attempt to attack the
 5   contest is not Brady or Giglio material; nor does it fall within Rule 16.
 6          13.    As discussed above, documentation of S/A Jane’s authorization to travel to
 7   Garland, Texas, is not discoverable – it does not fall within the scope of Rule 16, Brady,
 8   or Giglio. The evidence already disclosed, along with the Hendricks trial transcript of S/A
 9   Jane’s testimony, fully describes S/A Jane’s purpose and justification for the travel.
10          14.    FBI authorizations, generally and in this context, do not fall within the scope
11   of Rule 16, Brady, or Giglio. Such evidence does not constitute impeachment for any
12   government witness, nor is it relevant or exculpatory. It bears no relation to the
13   government’s case against Kareem for the reasons set forth above.
14          15.    Briefing notes and materials on the law enforcement presence in Garland do
15   not fall within the scope of Rule 16, Brady, or Giglio. They are not relevant to any of the
16   issues at trial or any of the elements of the charges in the case.
17          The lack of a mention of Kareem in the context of the Hendricks investigation or
18   research into Simpson’s online identities does not constitute exculpatory evidence. As
19   noted above, the government never asserted at trial that Kareem was a participant in online
20   communication about ISIS or the Garland attack. See United States v. Bryan, 868 F.2d
21   1032, 1037 (9th Cir. 1989) (“[The defendant] seems to argue that any information gleaned
22   from any witness by a federal prosecutor that does not incriminate the defendant
23   necessarily exculpates him. This proposition is supported by neither law nor logic.”);
24   United States v. Rhodes, 569 F.2d 384, 388 (2d Cir. 1978) (no Brady violation when the
25   prosecution did not disclose that certain eyewitnesses to a robbery were unable to identify
26   the defendant because “[t]he eyewitnesses did not state that the defendant was not one of
27   the robbers. . . . [r]ather, they testified that they could not state whether the defendant was
28   or was not one of the perpetrators” and such evidence was not exculpatory).


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 1          For example, in United States v. Zuno-Arce, 44 F. 3d 1420, 1422 (9th Cir. 1995), a
 2   defendant was convicted of conspiring to kidnap, torture, interrogate, and murder DEA
 3   Agent Enrique Camarena-Salazar in Guadalajara, Mexico in 1985. Post-conviction, the
 4   defendant claimed that the government had hid exculpatory DEA and FBI interviews with
 5   a Mexican federal agent until after the close of evidence in the defendant’s case. Id. at
 6   1425. During multiple interviews of the Mexican federal agent, the agent advised FBI and
 7   DEA that he had spoken with multiple people who were present during the torture of DEA
 8   Agent Camarena and those people had mentioned individuals who were also present. Id. at
 9   1425–26. The defendant argued that the interviews were exculpatory because none of the
10   witnesses to the torture apparently mentioned the defendant’s name as being present. Id.
11   at 1426.
12          In holding that the interviews were not exculpatory evidence, the Ninth Circuit held
13   the “inference is too weak . . . to amount to exculpatory evidence” and that “not every
14   witness statement which fails to inculpate a defendant should be treated as exculpatory.”
15   Id. The court explained, “the torture took place over two days, [and] the statement does
16   not show when the people who told the agents who were present were there themselves
17   and when they were absent,” the interviews do not “establish that [the defendant] was not
18   there during the torture,” and “the language of the witness statement [does not] suggest that
19   the agent purported to list all persons who were present at any time during the torture.” Id.
20          Similarly, the research into Simpson’s online identities was focused on his identities
21   in the context of the Hendricks investigation, not his in-person associations with
22   individuals who were not communicating over online messaging applications. Again, even
23   if the agents’ motive for pursuing prosecution were somehow a defense to the charge,
24   undersigned counsel have not seen any evidence to suggest the agents in this case acted
25   based on anything other than the evidence implicating Kareem that arose during the course
26   of the investigation.
27
28


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 1                                          Conclusion
 2          Based on the foregoing, the United States respectfully requests the Court deny the
 3   defendant’s Amended Motion to Compel Disclosure.
 4          Respectfully submitted this 7th day of February, 2019.
 5                                                      ELIZABETH A. STRANGE
                                                        First Assistant United States Attorney
 6                                                      District of Arizona
 7                                                      s/ Kristen Brook
                                                        s/ Joseph E. Koehler
 8                                                      KRISTEN BROOK
                                                        JOSEPH E. KOEHLER
 9                                                      Assistant U.S. Attorneys
10
11                                 CERTIFICATE OF SERVICE

12          I hereby certify that on the 7th day of February, 2019, I electronically filed the
     foregoing with the Clerk of Court using the CM/ECF system, and that true and accurate
13   copies have been transmitted electronically to counsel for the defendant via the ECF
     system.
14   Daniel Drake & Daniel Maynard, Attorneys for Defendant
15   By: /s Joseph E. Koehler
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